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  1   XAVIER BECERRA
      Attorney General of California
  2   MARK BECKINGTON
      Supervising Deputy Attorney General
  3   JENNIFER E. ROSENBERG
      Deputy Attorney General
  4   State Bar No. 275496
        300 South Spring Street, Suite 1702
  5     Los Angeles, CA 90013
        Telephone: (213) 269-6617
  6     Fax: (916) 731-2124
        E-mail: Jennifer.Rosenberg@doj.ca.gov
  7   Attorneys for Defendants Xavier Becerra, in
      his official capacity as Attorney General of
  8   the State of California, and Luis Lopez,
      in his official capacity as Director of
  9   the Department of Justice Bureau of
      Firearms
 10
                       IN THE UNITED STATES DISTRICT COURT
 11
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 12
 13
 14
 15   Matthew Jones, et al.,                       3:19-cv-01226-L-AHG
 16                                  Plaintiffs,
 17               v.                               JOINT MOTION FOR
                                                   MODIFICATION OF
 18                                                SCHEDULING ORDER
      Xavier Becerra, in his official capacity
 19   as Attorney General of the State of      Dept:            5B
      California, et al.,
 20                                            Judge:           The Honorable M. James
                                  Defendants.                   Lorenz and Magistrate
 21                                                             Judge Alison H. Goddard
 22                                                Final Pretrial Conference
                                                   Date:         June 25, 2021
 23
                                                   Action
 24                                                Filed:      July 1, 2019
 25                                                First Amended Complaint
                                                   Filed:     July 30, 2019
 26
                                                   Second Amended Complaint
 27                                                Filed:   November 8, 2019
 28

                       Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
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  1         Plaintiffs Matthew Jones, et al., and Defendants Xavier Becerra (in his
  2   official capacity as Attorney General of the State of California) and Luis Lopez (in
  3   his official capacity as Director of the Department of Justice Bureau of Firearms),1
  4   through their respective counsel of record, and pursuant to Civil Local Rules 7.1 and
  5   7.2, hereby jointly move the Court for modification of the Scheduling Order
  6   Regulating Discovery and Other Pre-Trial Proceedings. ECF No. 15. This Motion
  7   is supported by the declaration of Jennifer E. Rosenberg, filed concurrently
  8   herewith. The parties have not previously sought modification of the Court’s
  9   Scheduling Order. Good cause exists for the requested modification.
 10   I.        RELEVANT PROCEDURAL BACKGROUND
 11             Plaintiffs filed their initial complaint on July 1, 2019. ECF No. 1.
 12   Plaintiffs filed their First Amended Complaint for Declaratory and Injunctive Relief
 13   (FAC) on July 30, 2019 and served the FAC and summons on August 1, 2019. ECF
 14   No. 3; ECF No. 5 at 1, n.2. A case management conference was held before
 15   Magistrate Judge Goddard on October 9, 2019, ECF No. 15 at 1, and thereafter,
 16   Plaintiffs filed a Second Amendment Complaint adding allegations related to
 17   amendments made to Penal Code §27510, the statute challenged in this matter, that
 18   Governor Newsom signed into law in October 2019, ECF No. 20.
 19         Plaintiffs then filed a motion for a preliminary injunction on November 12,
 20   2019, which Defendants opposed. ECF Nos. 21 & 25. Briefing was completed on
 21   the motion and related evidentiary objections in early February of this year, and the
 22   Court did not request a hearing on the motion. See ECF Nos. 52, 52-1, 53. The
 23   parties await a ruling on the preliminary injunction motion.
 24   II.       GOOD CAUSE EXISTS TO MODIFY THE SCHEDULING ORDER
 25         In the Joint Case Management Statement the parties filed in advance of the
 26   October 9, 2019 case management conference with Magistrate Judge Goddard, as
 27         1
             Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Director
      Luis Lopez is automatically substituted as a defendant in this matter in place of his
 28   predecessor, former Acting Director Brent E. Orick.
                                                   1
                         Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
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  1   well as during the case management conference, the parties notified the Court that
  2   they planned to wait to conduct discovery until after resolution of Plaintiffs’
  3   preliminary injunction motion, and proffered the joint view that it would be
  4   premature to set a discovery schedule until after resolution of that motion. ECF No.
  5   11 at 13, 20, 22. Nonetheless, in accordance with the directions in Magistrate Judge
  6   Goddard’s ENE order, the parties proposed in their Joint Case Management
  7   Statement a set of discovery and pre-trial deadlines tied to resolution of the
  8   preliminary injunction motion. Id. at 22-23 [the parties assuming at that time, for
  9   purposes of proposing dates, that the preliminary injunction motion would be heard
 10   and resolved in early 2020].
 11         The Court’s Scheduling Order issued after the case management conference
 12   set the following original deadlines this matter, ECF No. 15:
 13
 14    Action                                                     Deadline
             Close of fact discovery                              September 23, 2020
 15          Expert witness designations to be made in writing November 9, 2020
 16          Compliance with disclosure obligations under
             Federal Rule of Civil Procedure 26(a)(2)(A) and
 17          (B)
 18          Exchange of rebuttal expert witnesses                December 9, 2020
 19          Supplementation of parties’ disclosures regarding
             contradictory or rebuttal evidence under Rule
 20          26(a)(2)(D)
 21          Expert discovery to be completed                     January 8, 2021
             All pretrial motions, other than motions in limine, March 12, 2021
 22          to be filed
 23          Mandatory settlement conference                      May 13, 2021
             Plaintiffs’ written settlement proposal to be served April 22, 2021
 24
             In-person or telephonic meet-and-confer regarding No later than April 29,
 25          settlement offer to be held                          2021
 26          Defendants’ written response to settlement
             proposal to be made in writing, prior to the meet-
 27          and-confer
 28
                                                  2
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  1          Each party to serve and lodge settlement           May 3, 2021
  2          conference statement
             Optional confidential settlement letter may be     May 3, 2021
  3          lodged for Court’s review
  4          Compliance with Rule 26(a)(3) pre-trial disclosure May 28, 2021
             requirements in advance of final pre-trial
  5
             conference
  6          Parties to meet and take action required by Local June 4, 2021
  7          Rule 16.1(f)(4)
             Plaintiffs to provide defendants with draft        June 11, 2021
  8          proposed final pretrial order for review and
  9          approval
             The proposed final pretrial conference order,      June 18, 2021
 10          including objections to Rule 26(a)(3) pretrial
 11          disclosures, shall be served and lodged with Judge
             Lorenz
 12                                                             June 25, 2021 at 10:30
             Final pretrial conference
 13                                                             a.m.
 14         At present, the preliminary injunction motion is not yet resolved, and the first
 15   of the discovery and pre-trial deadlines set by the Court’s Scheduling Order—the
 16   close of fact discovery in September 2020—is approaching.
 17         In addition, in the time since the Court issued its Scheduling Order and the
 18   parties completed briefing on Plaintiffs’ motion for preliminary injunction, the
 19   nation and Southern California in particular have experienced unprecedented
 20   impacts on the court systems, legal practice, and daily life related to the COVID-19
 21   pandemic. The pandemic has had, and will continue to have, practical consequences
 22   for litigants, including the parties here; among other things, the parties and their
 23   counsel will need to adjust their discovery approaches to accommodate remote
 24   depositions and the needs of any witnesses or counsel with particular health risks.
 25         Counsel for the parties have met and conferred, and counsel for Defendants
 26   have stated that, given the approach of discovery deadlines and the pandemic-related
 27   challenges noted above, they now plan to commence discovery before a ruling on
 28
                                                  3
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  1   the preliminary injunction motion issues. The parties agree that the current
  2   scheduling order setting the close of fact discovery on September 23, 2020 should
  3   be adjusted to provide sufficient time for the parties to complete fact and expert
  4   discovery in an efficient manner, to avoid any undue prejudice that might result
  5   from the parties’ prior good faith decision to commence discovery after a ruling on
  6   the preliminary injunction motion, and to otherwise efficiently manage the
  7   discovery process. Therefore, the parties jointly request modification of the current
  8   Scheduling Order to extend deadlines by approximately 6-8 weeks. The parties
  9   believe this will allow sufficient time to complete written fact discovery, depositions
 10   of non-experts, and expert witness discovery.
 11         WHEREFORE:
 12         The parties hereby jointly request that the Court issue an order modifying the
 13   scheduling order as follows:
 14
 15    Action                                 Original Deadline New Deadline
             Close of fact discovery          September 23, 2020 November 6, 2020
 16          Expert witness designations to   November 9, 2020 January 8, 2021
 17          be made in writing
             Compliance with disclosure
 18          obligations under Federal Rule
 19          of Civil Procedure 26(a)(2)(A)
             and (B)
 20
             Exchange of rebuttal expert      December 9, 2020 February 8, 2021
 21          witnesses
 22          Supplementation of parties’
             disclosures regarding
 23          contradictory or rebuttal
 24          evidence under Rule 26(a)(2)(D)
             Expert discovery to be           January 8, 2021    February 26, 2021
 25          completed
 26          All pretrial motions, other than March 12, 2021     April 28, 2021
             motions in limine, to be filed
 27          Mandatory settlement             May 13, 2021       June 24, 2021
 28          conference
                                                  4
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  1          Plaintiffs’ written settlement     April 22, 2021           June 3, 2021
  2          proposal to be served
             In-person or telephonic meet-      No later than April      No later than June
  3          and-confer regarding settlement 29, 2021                    10, 2021
  4          offer to be held
             Defendants’ written response to
  5
             settlement proposal to be made
  6          in writing, prior to the meet-and-
             confer
  7
             Each party to serve and lodge      May 3, 2021              June 16, 2021
  8          settlement conference statement
  9          Optional confidential settlement May 3, 2021                June 16, 2021
             letter may be lodged for Court’s
 10          review
 11          Compliance with Rule 26(a)(3) May 28, 2021                  July 9, 2021
             pre-trial disclosure requirements
 12          in advance of final pre-trial
 13          conference
             Parties to meet and take action    June 4, 2021             July 16, 2021
 14
             required by Local Rule
 15          \16.1(f)(4)
             Plaintiffs to provide defendants June 11, 2021              July 23, 2021
 16
             with draft proposed final pretrial
 17          order for review and approval
 18          The proposed final pretrial        June 18, 2021            July 30, 2021
             conference order, including
 19          objections to Rule 26(a)(3)
 20          pretrial disclosures, shall be
             served and lodged with Judge
 21          Lorenz
 22          Final pretrial conference          June 25, 2021 at         August 6, 2021 at
                                                10:30 a.m.               10:30 a.m.
 23
 24         Although the parties do not anticipate seeking further modification in the
 25   future, they also jointly request that the Court’s order modifying the Scheduling
 26   Order reserve the parties’ ability to seek the Court’s approval of further
 27   modifications for good cause should the need to do so arise.
 28
                                                  5
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   1           A proposed order will be lodged with the Court conctm·ently with submission
   2    of this Joint Motion.
   3
   4
        Dated: July 16, 2020                             Respectfully Submitted,
   5
                                                         XAVIER BECERRA
   6                                                     Attorn� General of California
                                                         MARK BECKINGTON
   7                                                     Supervising Deputy Attorney General
   8
   9
  10                                                     JENNIFER E. ROSENBERG
                                                         Deputy Attorney General
  11                                                     Attorneys for Def?ndants Xavier
                                                         Becerra, in his official cayacity as
  12                                                     Attorney General of the State of
                                                         California, and Luis Lopez, in his
  13                                                     official capacity as Director of
                                                         tli.e Department of Justice Bureau of
  14                                                     Firearms
  15
                                                         DILLON LAW GROUP, APC
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                                                         Attorney for Plaintiffs
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                           Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
